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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERM AN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
 vs.                                             §            Case No. 4:98cr86
                                                 §            (Judge Schell)
FRITZ ALPHONSO OWENS (2)                         §

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

       Pending before the Court is the request for revocation of Defendant’s supervised release.

After the District Judge referred the matter to this Court for a report and recommendation, the Court

conducted a hearing on March 31, 2011, to determine whether Defendant violated his supervised

release. Defendant was represented by Denise Benson. The Government was represented by Tracey

Batson.

       On September 27, 1999, Defendant was sentenced by the Honorable Paul Brown to one

hundred and eighty (180) months’ custody followed by five (5) years of supervised release for the

offense of Conspiracy to Possess with Intent to Distribute Cocaine Base and Carrying a Firearm During

and in Relation to a Drug Trafficking Crime. On January 21, 2000, an Order was filed reducing the

term of imprisonment to one hundred and thirty (130) months. On October 29, 2008, Defendant

completed his period of imprisonment and began service of his supervised term.

       On March 11, 2011, the U.S. Probation Officer executed a Petition for Warrant for Offender

Under Supervision. The petition asserted that Defendant violated various mandatory and standard

conditions. Violation allegations one, two, three, four and six were dismissed by the Government.

The petition also alleged violation of the following additional mandatory condition: the defendant

shall refrain from any unlawful use of a controlled substance.

       The petition alleges that Defendant committed the following acts with regard to the
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    remaining violation: (1) On February 22, 2011, Defendant submitted a urine specimen that tested

    positive for marijuana and amphetamines. Defendant admitted to using marijuana and ecstacy on

    or about February 20, 2011; and (2) On November 7, 2009, Defendant submitted a urine specimen

    that tested positive for marijuana. Defendant admitted to said use.

           Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

    violation.

                                        RECOMMENDATION

           The Court recommends that the District Judge revoke Defendant’s supervised release.

    Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

    to the custody of the Bureau of Prisons to be imprisoned for a term of eight (8) months with no

    supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

.   Prisons, Seagoville Unit.

           After the Court announced the recommended sentence, Defendant executed the consent to

    revocation of supervised release and waiver of right to be present and speak at sentencing.

    Defendant and the Government also waived their right to file objections.

           SIGNED this 1st day of April, 2011.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES MAGISTRATE JUDGE
